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LLCRK US BISTRIGE COURT
NORTHERN DIST. OF TX
FILED

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXA9Q21 MAY 26 PM 2: 02
DALLAS DIVISION

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UNITED STATES OF AMERICA NO. DEPUTY CLERK

¥ 8-21¢R0248-¢
MICHAEL WILMER WILSON
INDICTMENT
The Grand Jury charges:
Count One
Bank Robbery
(Violation of 18 U.S.C. § 2113(a))

On or about February 9, 2021, in the Dallas Division of the Northern District of
Texas, Michael Wilmer Wilson, the defendant, did knowingly and intentionally take, by
force and violence, and by intimidation, from the person and presence of another,
namely, an employee of Bank OZK, 2821 Fort Worth Avenue, Dallas, Texas, United
States currency belonging to and in the care, custody, control, management, and
possession of Bank OZK, a bank, the deposits of which were then insured by the Federal

Deposit Insurance Corporation.

In violation of 18 U.S.C. § 2113(a).

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Forfeiture Notice
(18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c))

Upon conviction for the offense alleged in Count One of the indictment and

pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), Michael Wilmer Wilson,

the defendant, shall forfeit to the United States of America any property, real or personal,

constituting or derived from proceeds traceable to the offense.

A TRUE BILL:

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FOREPERSON

 

PRERAK SHAH
ACTING UNITED STATES ATTORNEY

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ANDREW J. BRIGE

Assistant Vinite ate tes Attorney
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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

 

THE UNITED STATES OF AMERICA

MICHAEL WILMER WILSON

 

INDICTMENT
18 U.S.C. § 2113(a)
Bank Robbery
(Count 1)

18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c)
Forfeiture Notice

1 Count

 

A true bill rendered

DALLAS Sergio

 

Filed in open court this 20 day of May, 2021.

 

 

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UNITED STATES MAGESTRATE TUDGE
Magistrate Court Number: 3:21-Mi-412-BN
